                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                      Case No. 15-CR-108

JAMES ASHFORD,

      Defendant.


       ORDER ON DEFENDANT’S MOTION TO REOPEN DETENTION ORDER


       Before me is defendant James Ashford’s (“Ashford”) motion to reopen his detention order.

(Docket # 142.) Ashford, along with several others, is charged in a single-count indictment with a

drug trafficking conspiracy. (Docket # 1.) On June 24, 1015, I held a detention hearing and ordered

Ashford detained. (Docket # 81.)

       A defendant who has been detained can seek to reopen the detention hearing under 18 U.S.C.

§ 3142(f)(2), which provides as follows:

       The hearing may be reopened, before or after a determination by the judicial officer,
       at any time before trial if the judicial officer finds that information exists that was not
       known to the movant at the time of the hearing and that has a material bearing on the
       issue whether there are conditions of release that will reasonably assure the
       appearance of the person as required and the safety of any other person and the
       community.

Ashford now proposes to be released on property bond or, alternatively, on $5,000 in cash. As

grounds for reconsidering the detention order, Ashford states that he now has obtained the

supporting documents for his parents’ property, which he proposes to post. Additionally, he argues

that at the time of the hearing the government alleged that he was involved in two controlled buys;

his review of the discovery shows one controlled buy consisting of a government CI providing him



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$300 and receiving nothing in return. At the detention hearing, I considered Ashford’s arguments for

release on cash bond ($5,000 from his mother and an additional $5,000 from his sister). I considered

his ties to the community—he is a life-long resident of Milwaukee. He has the support of his parents,

siblings, and a girlfriend with whom he shares a child. Based on the those substantial ties, I

concluded that Ashford was not a flight risk. However, given Ashford’s recent 2014 revocation while

on extended supervision for Flee/Elude Officer and the allegation that some of the conduct alleged

in the indictment occurred while he was on state supervision, I concluded that Ashford was not a

good candidate to comply with conditions of release to mitigate any risk of danger his release would

pose to the community. After reviewing the record from the original detention hearing and

considering Ashford’s new motion, I remain unpersuaded that Ashford is a good candidate for

complying with conditions of release. I, therefore, respectfully decline to set conditions of release.



       IT IS SO ORDERED.

               Dated at Milwaukee, Wisconsin this 28th day of August, 2015.

                                                    BY THE COURT

                                                    s/Nancy Joseph
                                                    NANCY JOSEPH
                                                    United States Magistrate Judge




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